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       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
                U.S. MAGISTRATE JUDGE MINUTE ENTRY


(X) PENDING MOTIONS HEARING


                      Presiding Judge: RONALD E. BUSH


Deputy Clerk/ESR: Lynette Case
Date: AUGUST 29, 2018                             CV. 18-170-S-REB
Boise, Idaho                                      10-11:05 am


JOSEPH G. DAINES, et al,                       Patrick Bageant/Thomas Lloyd,
                  Plaintiffs,                     Plaintiffs Counsel,
vs.

MARK MATSKO, et al,                               Mike Roe,
                       Defendants.                 Attorney for Defendants,



MOTIONS:
Court reviewed the record.

1-Def.’s Motion to Seal (DOC. 5): DENIED as stated on the record.

2-Def.’s Motion to Dismiss/Stay (DOC. 6): UNDER ADVISEMENT.

Court advised counsel shall file no more than a 10 page brief on the issue addressed;
Docket Text Order to follow.



                   Court shall enter an Order in due course.
